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            EXHIBIT 5
6/1/2018                             FDA OK's new Document
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                          BRIEF


                          FDA OK's new Remicade


                          copycat but no launch


                          planned

                          By Suzanne Elvidge • Dec. 15, 2017

                          Dive Brief:

                              P zer Inc.'s Ixi , the company's second Remicade biosimilar,
                              got its go ahead in the U.S. on Wednesday evening from the
                              Food and Drug Administration.

                              P zer sought approval of Ixi , despite already having an
                              approval with partner Celltrion for another Remicade
                              biosimilar, called In ectra. Yet, the company said it has no
                              plans to launch the new drug, which it owned prior to
                              acquiring In ectra in its buyout of Hospira.

                              Ixi is the ninth biosimilar approved by the U.S. and the third
                              copycat for Johnson & Johnson's Remicade. Ixi can be used
                              for all of the same indications as Remicade.

                          Dive Insight:

                          P zer already supplies Celltrion Healthcare's In ectra (in iximab-
                          dyyb) in the U.S. and elsewhere; the South Korean company's
                          agent was the rst Remicade biosimilar to the market. This was
                          then followed by Ren exis from Samsung Bioepis and Merck &
                          Co.

                          In ectra's sales haven't exactly been ying high, with little
                          damage to Remicade's marketshare so far. In the third quarter,
                          Remicade's global sales were $1.65 billion, beating analysts'
                          expectations by 6%. P zer has blamed Johnson & Johnson's
                          contracts with payers for the originator drug for its lack of
                          success. P zer launched a lawsuit in September in the U.S.



https://www.biopharmadive.com/news/pfizer-remicade-biosimilar-second-market/513126/                                1/3
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                          District Court for the Eastern District of Pennsylvania accusing
                          J&J of conducting anti-competitive practices and violating
                          antitrust laws, but decisions on the progress of the case aren't
                          expected until the second quarter of 2018.




                          Credit: Ned Pagliarulo/BioPharma Dive, data from companies



                          To gain a better share of the market, P zer and Celltrion have
                          pushed for interchangeability for In ectra, based on the FDA's
                          draft guidance.

                          Perhaps unsurprisingly, P zer has elected not to cannibalize
                          itself, and won't be launching Ixi (in iximab-qbtx) in the U.S. Ixi
                          was already in development in-house at P zer when the big
                          pharma acquired Hospira, Celltrion's partner, and the focus then
                          shifted to In ectra, which was further along.

                          "We are pleased with the FDA approval of Ixi as the rst P zer
                          developed biosimilar in the U.S. and we are currently evaluating
                          our strategic options for this medicine. P zer does not plan on
                          launching Ixi in the U.S.," said the company in a statement to
                          BioPharma Dive.

                          P zer did not elaborate on what its plans are for the drug, but
                          said it will continue to make sure In ectra is available for
                          patients.




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                          Recommended Reading:

                              P zer Inc.
                          Statement




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